          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:07cr39-5


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                   ORDER
                            )
                            )
GAVIN COLVIN.               )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion to

Dismiss [Doc. 146], Motion to Grant Defendant’s Motion to Dismiss [Doc.

147], and Motion Requesting Court Grant Motion to Dismiss [Doc. 149].



                         PROCEDURAL HISTORY

     On October 1, 2007, the Defendant and four co-conspirators were

charged with conspiracy to distribute and to possess with intent to

distribute methamphetamine. [Doc. 1]. The Defendant elected to go to trial

and on February 5, 2008, he was found guilty of the conspiracy charge.

[Doc. 78]. The jury answered an interrogatory in which it found that at least

500 grams of methamphetamine were involved in the conspiracy and that




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involvement was either known to the Defendant or reasonably foreseeable

to him and in furtherance thereof. [Id.]. On December 5, 2008, the

Defendant was sentenced to 121 months imprisonment. [Doc. 113]. The

Defendant appealed his conviction and sentence. [Doc. 109, Doc. 116].

      The pending motions were filed while the Defendant’s direct appeal

remained pending. In the second and third motions, the Defendant claims

that the Court ordered the Government to respond to the motions and

because the Government did not do so, he is entitled to the relief sought.

The record of the case, however, does not show that the Government was

ordered to respond. On November 24, 2009, the United States Fourth

Circuit Court of Appeals affirmed the Defendant’s conviction and sentence.

United States v. Colvin, 353 Fed.Appx. 847 (4 th Cir. 2009).



                               DISCUSSION

      The Defendant has moved pursuant to Federal Rule of Criminal

Procedure 12(b)(2) to dismiss the bill of indictment. That rule provides that

a “party may raise by pretrial motion any defense, objection, or request that

the court can determine without a trial of the general issue.” Fed.R.Crim.P.

12(b)(2). Obviously, this motion, made after the trial and sentencing and

while the case was on appeal, is untimely.

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     Indeed, the grounds raised in the motion are more properly stated in

connection with a motion pursuant to 28 U.S.C. §2255. Because the time

within which the Defendant must file such a motion has not yet expired, the

Court will not construe this motion as one brought pursuant to §2255.



                                 ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Dismiss [Doc. 146], Motion to Grant Defendant’s Motion to Dismiss [Doc.

147], and Motion Requesting Court Grant Motion to Dismiss [Doc. 149] are

hereby DENIED.

                                     Signed: April 29, 2010




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